        Case 1:12-cv-00862-LY Document 108 Filed 06/06/16 Page 1 of 1




                        IN THE UNITED STATES DISTRiCT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                                5
                                                                                              4iio 5
                                   AUSTIN DIVISION

UNITED STATES COMMODITY
FUTURES TRADING COMMISSION,

                   Plaint ff


V.                                                          Civil Action No. A-i 2-CV-O 862-LY

SENEN POUSA, INVESTMENT
INTELLIGENCE CORPORATION,
DBA PROPHETMAX MANAGED FX,
JOEL FRIANT, MICHAEL DILLARD, and
ELEVATION GROUP, INC.,

                   Defendants.


                ORDER GRANTING RECEIVER'S UNOPPOSED
         MOTION FOR APPROVAL OF FIFTH INTERIM FEE APPLICATION

       Before the Court is the Receiver's Unopposed Motion for Approval of Fifth Interim Fee

Application and Brief in Support ("Motion").        Having considered the Motion, the evidence

presented, and arguments of counsel, if any, the Court finds that the time spent, services performed,

hourly rates charged, and expenses incurred by the Receiver and his retained professionals were

reasonable and necessary for the Receiver to perform his Court-ordered duties. The Court

concludes that the Motion should be, and is hereby, GRANTED.

        It is therefore ORDERED that payment of interim fees and expenses          of $42,595.59 to

the Receiver, and interim fees and expenses of $83,840.43 to the retained professionals who

rendered services to the ProphetMax Receivership Estate from April 1, 2014 to January 31, 2016,

 is approved.
        SIGNED this              day of       2016.




                                                      LEEAKEL           /
                                                      U1ITED STATyS DIST CT JUDGE
